Case 2:10-md-02179-CJB-DPC Document 3319-1 Filed 07/14/11

THE LAW OFFICES OF

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July 11, 2011

VIA U.S, MAIL

Honorable Carl J. Barbier

United States District Court for the
Eastern District of Louisiana

500 Poydras Street

Room C256

New Orleans, LA 70130

Page 1 of 2

Of Counsel

William T. Abbott, Jr.**
» Michael A. MeNulty, Jr.

Darry! J. Carimi

** Licensed in New York

Re: Guy Adams v. Louisiana Department of Natural Resources, et. al.,

No. 11-cv-01051

Dear Judge Barbier,

I represent the plaintiff and putative class in the above captioned case. The case was filed in
the 25" Judicial District Court for Plaquemines Parish on April 20, 2011. On May 4, 2011, before
the summonses were issued and service was complete, one of the named defendants, Cameron
International, removed the case to this Court. A motion to remand was filed on June 2, 2011 and
set for hearing without oral argument on July 6, 2011. Defendant Cameron International did not

oppose the motion to remand.

As the hearing was without oral argument, and the motion was unopposed, my question is

whether the Court has reached a decision as to whether remand is appropriate, or
prefer oral argument.

if the Court would

Should the Court require any additional information on this matter, undersigned counsel is

readily available. With kind regards, I remain

ce: Megan K. Terrell, Louisiana Department of Natural Resources

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David A. Peterson, Louisiana Department of Natural Resources

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David W. Jones, Cameron International
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